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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION


IN RE: ETHICON, INC. PELVIC REPAIR                                 Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                         MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN                                 JOSEPH R. GOODWIN U.S. DISTRICT
EXHIBIT A                                                                  JUDGE


              NOTICE OF ADOPTION OF ETHICON’S MOTION TO EXCLUDE THE
                   OPINIONS AND TESTIMONY OF DR. JIMMY W. MAYS
                                  FILED IN WAVE 4

         Defendants Ethicon, Inc. and Johnson & Johnson (“Ethicon”) hereby adopt and

incorporate by reference Ethicon’s Motion to Exclude the Opinions and Testimony of Dr. Jimmy

W. Mays [Dkt. #3642], and Ethicon’s Memorandum of Law in Support of Motion to Exclude the

Opinions and Testimony of Dr. Jimmy W. Mays [Dkt. #3647], previously filed in Wave 4.

Ethicon respectfully requests that the Court exclude Dr. Mays’ testimony in the Wave 6 cases

identified in Exhibit A, attached hereto, for the reasons expressed in the Wave 4 briefing adopted

and incorporated herein.

Dated: October 20, 2017


                                                         Respectfully submitted,


                                                         /s/ David B. Thomas
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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2017, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to CM/ECF participants registered to receive service in this MDL.




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